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 6   Attorneys for Defendant
     CONRADO VIRGEN MENDOZA
 7
 8                              IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                  )   Case No. 1:19-cr-00015-DAD-BAM-3
                                                 )
12                       Plaintiff,              )   REQUEST FOR ORDER AUTHORIZING
                                                 )   RELEASE OF PRETRIAL SERVICES
13    vs.                                        )   REPORT; ORDER
                                                 )
14    CONRADO VIRGEN MENDOZA,                    )
                                                 )   Judge: Hon. Dale A. Drozd
15                      Defendant.               )
                                                 )
16                                               )

17
18             Conrado Virgen Mendoza has filed a Ninth Circuit appeal of the detention order entered
19   by the District Court on February 4, 2019. The appellate opening brief references findings and
20   recommendations included in the report prepared by the Pretrial Services Officer, which cannot

21   be made available to the Ninth Circuit motions panel absent an order authorizing release of the
22   report.
23   ///

24   ///
25   ///
26   ///
27   ///
28   ///
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 1   Mr. Virgen Mendoza therefore requests an order from this Court authorizing the release of the
 2   Pretrial Services Report as well as any supplemental reports which were presented to the District
 3   Court.
 4                                                           Respectfully submitted,
 5                                                           HEATHER E. WILLIAMS
                                                             Federal Defender
 6
 7   Date: February 19, 2019                                 /s/ Megan T. Hopkins
 8                                                           MEGAN T. HOPKINS
                                                             ERIN M. SNIDER
 9                                                           Assistant Federal Defender
                                                             Counsel for Defendant
10                                                           CONRADO VIRGEN MENDOZA

11
12                                                  ORDER

13   GOOD CAUSE APPEARING, based on the filing of a Ninth Circuit appeal of the detention

14   order by the defendant, it is hereby ordered that the Pretrial Services Office for the United States

15   District Court for the Eastern District of California provide copies of the Pretrial Services Report

16   regarding Conrado Virgen Mendoza, and any supplemental reports which were presented to the

17   United States District Judge Dale A. Drozd, to the Clerk of the Court for inclusion in the record

18   on appeal to be transmitted to the Court of Appeals for the Ninth Circuit for its consideration.

19
20   IT IS FURTHER ORDERED, that after said consideration by the United States Court of Appeals

21   for the Ninth Circuit, said reports are to be returned to the files of the Pretrial Services Office for

22   the Eastern District of California and maintained therein and are not to be kept in any other court

23   file.

24
25   IT IS SO ORDERED.

26       Dated:    February 20, 2019
                                                         UNITED STATES DISTRICT JUDGE
27
28

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